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 REVIEW                                                                                                                                       Open Access

Rivaroxaban and other novel oral anticoagulants:
pharmacokinetics in healthy subjects, specific
patient populations and relevance of coagulation
monitoring
Wolfgang Mueck*, Stephan Schwers and Jan Stampfuss


  Abstract
  Unlike traditional anticoagulants, the more recently developed agents rivaroxaban, dabigatran and apixaban target
  specific factors in the coagulation cascade to attenuate thrombosis. Rivaroxaban and apixaban directly inhibit Factor
  Xa, whereas dabigatran directly inhibits thrombin. All three drugs exhibit predictable pharmacokinetic and
  pharmacodynamic characteristics that allow for fixed oral doses in a variety of settings. The population
  pharmacokinetics of rivaroxaban, and also dabigatran, have been evaluated in a series of models using patient data
  from phase II and III clinical studies. These models point towards a consistent pharmacokinetic and
  pharmacodynamic profile, even when extreme demographic factors are taken into account, meaning that doses
  rarely need to be adjusted. The exception is in certain patients with renal impairment, for whom pharmacokinetic
  modelling provided the rationale for reduced doses as part of some regimens. Although not routinely required, the
  ability to measure plasma concentrations of these agents could be advantageous in emergency situations, such as
  overdose. Specific pharmacokinetic and pharmacodynamic characteristics must be taken into account when
  selecting an appropriate assay for monitoring. The anti-Factor Xa chromogenic assays now available are likely to
  provide the most appropriate means of determining plasma concentrations of rivaroxaban and apixaban, and
  specific assays for dabigatran are in development.
  Keywords: Rivaroxaban, Population Pharmacokinetics, Dabigatran, Apixaban, Coagulation Monitoring


Introduction                                                                        International GmbH) and apixaban (EliquisW, Bristol-
In recent years, the scope for effective management of                              Myers Squibb and Pfizer EEIG). All three of these
venous and arterial thromboembolic diseases has been                                agents, and others in development, are under investiga-
enhanced by the advent of novel oral anticoagulants                                 tion for the management of multiple thromboembolic
(OACs) that, unlike traditional oral vitamin K antago-                              disorders. Rivaroxaban, a direct Factor Xa inhibitor, is
nists (VKAs) [1], are given at fixed doses and have a                               now approved in the European Union (EU), United
lower potential for drug and food interactions [2]. These                           States (US) and elsewhere for the prevention of venous
agents show similar or improved efficacy and safety profiles                        thromboembolism (VTE) in adults who have undergone
compared with VKAs, such as warfarin, and established                               elective hip or knee replacement surgery at a dose of
parenteral agents, including unfractionated heparin and                             10 mg once daily (od) given for 2 weeks (knee) or
low molecular weight heparin [2].                                                   5 weeks (hip) [3,4]. Apixaban [5], another direct Factor
  The currently licensed novel OACs are rivaroxaban                                 Xa inhibitor, and dabigatran [6], a direct thrombin in-
(XareltoW, Bayer Pharma AG and Janssen Pharmaceuti-                                 hibitor, are now also approved in the EU for the same
cals, Inc.), dabigatran (PradaxaW, Boehringer Ingelheim                             orthopaedic indication. In addition, rivaroxaban is ap-
                                                                                    proved for the prevention of stroke and systemic embol-
                                                                                    ism in adults with non-valvular atrial fibrillation (AF)
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                                                                                    (20 mg od; EU and US) [3,4], and for the treatment of

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deep vein thrombosis (DVT) and pulmonary embolism                         aspects, such as limited clinically relevant drug–drug in-
(PE), and prevention of recurrent DVT and PE in adult                     teractions [10].
patients (15 mg twice daily [bid] for 3 weeks followed by                    Because of their predictable PK/PD profiles, rivaroxaban
20 mg od; EU and US) [3,4]. Apixaban and dabigatran                       and other novel OACs do not require routine coagulation
are also licensed to reduce the risk of stroke and                        monitoring [2]. However, there are circumstances in which
systemic embolism in patients with non-valvular AF in                     it may be necessary or desirable to measure their anti-
Europe and the US [5-8]. Rivaroxaban has also recently                    coagulant effect or the plasma levels of these drugs [9]. In
been approved in the EU for the secondary prevention                      such cases, it is important to appreciate the PK properties
of acute coronary syndrome (ACS); rivaroxaban admin-                      of the drugs and their influence on coagulation assays. The
istered with acetylsalicylic acid (ASA) alone or with ASA                 objectives of this review are to provide an overview of the
plus clopidogrel or ticlopidine is indicated for the pre-                 mechanism of action of rivaroxaban, to summarise its
vention of atherothrombotic events in adult patients                      known PK and PD characteristics in healthy subjects and
with elevated cardiac biomarkers after ACS [3].                           patient populations, and to give information on potential
   The novel OACs have mechanisms of action that at-                      laboratory tests for rivaroxaban. Dabigatran and apixaban
tenuate thrombotic processes via direct targeting of spe-                 are discussed where relevant differences exist.
cific factors in the coagulation cascade [9]. An essential
component of the clinical development of these agents                     Mechanism of action of novel oral anticoagulants
has been a full characterisation of their pharmacokinetic                 Unlike traditional anticoagulant agents, the VKAs and
(PK) and pharmacodynamic (PD) profiles. In particular,                    heparins, novel OACs have been designed to inhibit spe-
the phase III clinical trial programme for rivaroxaban                    cific single targets in the coagulation cascade (Figure 1)
has been supported by a comprehensive set of phase I                      [9]. Rivaroxaban and apixaban directly inhibit Factor Xa,
and II studies evaluating PK and PD in both healthy sub-                  whereas dabigatran targets thrombin (Factor IIa). In
jects and patients receiving the drug for active preven-                  addition, the parenteral agent fondaparinux indirectly in-
tion or treatment of thrombosis [10-12]. These studies                    hibits Factor Xa (Figure 1).
have demonstrated the predictable PK and PD properties                      Rivaroxaban, the first oral, direct Factor Xa inhibitor to
of rivaroxaban that allow fixed oral dosing regimens to                   be developed, was designed to specifically target Factor Xa
be followed, as well as characterising other important                    for several reasons. Factor Xa occupies the crossroads




                                                                     TF    Vlla                     Vll        VKA

                                        VKA        X
                                                                                                    IX         VKA




                                                                                        IXa
                                                                                       IXa

                                                                                                         Inactive factor
                            Direct inhibition                                                            Active factor
                            • Rivaroxaban, apixaban                                                      Catalysis
                            Indirect inhibition                Xa                                        Transformation
                            • Fondaparinux,
                              LMWH, UFH


                                                                                  II          VKA
                            Direct inhibition
                            • Dabigatran
                                                               IIa
                            Indirect inhibition
                            • LMWH, UFH

                                                  Fibrinogen          Fibrin
 Figure 1 The coagulation cascade and targets of anticoagulant agents. LMWH, low molecular weight heparin; TF, tissue factor; UFH,
 unfractionated heparin; VKA, vitamin K antagonist [9].
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between the intrinsic and extrinsic pathways in the coagu-                       risk of bleeding, peak plasma concentrations occurred
lation process [13] and is responsible for converting pro-                       within 2–4 hours of dosing, and maximal Factor Xa inhib-
thrombin (Factor II) to thrombin (Factor IIa) [14]. In                           ition was seen after 1–4 hours [17]. This fast onset of ac-
preclinical studies, rivaroxaban was found to be highly se-                      tion is similar to that of the low molecular weight heparins;
lective for Factor Xa, with an inhibitory effect >10,000 fold                    for enoxaparin, maximum plasma anti-Factor Xa activity
higher than for related serine proteases and an inhibition                       occurs 1–4 hours after injection [20]. The half-life of the
constant (Ki) of 0.4 nmol/l [10]. Importantly, rivaroxaban                       biological effect of rivaroxaban was 6–7 hours, with Factor
was shown to inhibit free, prothrombinase-associated and                         Xa inhibition still evident 24 hours after the administration
clot-associated Factor Xa without having a direct effect on                      of doses >5 mg [17]. Rivaroxaban was selective for Factor
platelet aggregation [15]. This is in contrast to the indirect                   Xa inhibition and had no direct effect on thrombin and no
Factor Xa inhibitors, such as fondaparinux, which do not                         effect on antithrombin activity [17]. When multiple doses
inhibit Factor Xa that is bound to the prothrombinase                            up to 30 mg bid were given for 7 days, Factor Xa activity
complex [16]. Unlike rivaroxaban, fondaparinux also re-                          was inhibited in a dose-dependent manner, reaching a
quires an antithrombin cofactor [9]. Because rivaroxaban                         maximum after approximately 3 hours and continuing for
does not inhibit thrombin directly, rivaroxaban does not                         at least 12 hours [21]. Peak plasma concentrations were
affect the haemostatic function of pre-existing thrombin                         reached after 3–4 hours and the terminal half-life was 5.7–
molecules [16].                                                                  9.2 hours at steady state, without accumulation at any dose
  Given the central role of thrombin in coagulation, dir-                        [21]. The systemic clearance and volume of distribution in
ect targeting of this factor results in an antithrombotic                        healthy volunteers are approximately 10 l/h and 50 litres,
effect. Thrombin is produced in small amounts in the                             respectively, with moderate interindividual variability [3].
initiation phase of the coagulation cascade but is gener-                        For single and multiple doses, prolongation of coagulation
ated in much greater amounts in the propagation phase                            tests followed a similar profile to Factor Xa inhibition and
and is essential to the amplification of coagulation and                         correlated closely with plasma concentrations [22].
the formation of fibrin [14].                                                       Several phase I studies were also conducted in special
                                                                                 patient populations. These indicated that relevant PK
Pharmacokinetic and pharmacodynamic                                              and PD parameters remained consistent regardless of
properties of rivaroxaban and other novel oral                                   body weight [26], age [27,28], gender [28,29] or ethnicity
anticoagulants in healthy volunteers and specific                                [29,30], suggesting that dose adjustment is unnecessary.
patient populations                                                              However, the presence of hepatic and renal impairment
Phase I studies in healthy volunteers and special                                may lead to relevant PK/PD effects. For a 10 mg dose,
populations                                                                      mild hepatic impairment (Child–Pugh A) led to minimal
In phase I studies in healthy subjects, rivaroxaban was                          PK and no PD changes compared with healthy controls,
found to have predictable PK properties (Table 1), with                          although moderate impairment (Child–Pugh B) led to
high absolute bioavailability after oral dosing [10,17], high                    significant increases in exposure and associated en-
and reversible plasma protein binding and a mean terminal                        hanced Factor Xa inhibition [3,31]; there are no data in
half-life of 5–13 hours after a 10 mg dose [3,18]. Systemic                      patients with severe hepatic impairment. Approximately
clearance was low (approximately 10 l/h) [3]. Unchanged                          two-thirds of a rivaroxaban dose undergoes metabolic
rivaroxaban was the predominant compound found in hu-                            degradation, of which half is eliminated renally and half
man plasma, and no major or active circulating metabolites                       via the hepatobiliary route; the other one-third of the ad-
were detected [19]. After single doses of 1.25–80 mg,                            ministered dose is excreted directly via the kidneys as
which were well tolerated and did not lead to an increased                       unchanged, active drug, principally through active renal

Table 1 Pharmacokinetic parameters (median values) of rivaroxaban, apixaban and dabigatran in healthy adults
Agent            Fabs, %      Cmax, ng/ml     AUC, ng · h/ml      tmax, h     t½, h         Vd, l       CL/F, l/h      Plasma protein      Renal excretion
                                                                                                                         binding, %         of unchanged
                                                                                                                                               drug, %
Rivaroxaban    80–100 [3]       141* [17]        1020* [17]       2–4 [3]    5–13 [3]      50 [3]         10 [3]           92–95 [3]             33 [3]
                                   †                  †
Apixaban          50 [5]        460 [23]         4100 [23]        3–4 [5]     12 [5]       21 [5]          3 [5]             87 [5]              27 [5]
Dabigatran        6.5 [6]       110‡ [24]         900‡ [24]       1–2 [6]   12–17 [6]    60–70 [6]    105–170 [24]         34–35 [6]             85 [25]
*With 10 mg oral dose.
†
 With 20 mg oral dose.
‡
 With 150 mg oral dose.
Values rounded to nearest integer.
AUC area under the concentration–time curve, CL/F apparent clearance, Cmax maximum plasma concentration, Fabs absolute bioavailability, tmax time to maximum
concentration, t½ apparent half-life, Vd volume of distribution at steady state.
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secretion via the transporter proteins P-glycoprotein               turn exhibit higher clearance and lower protein binding.
(P-gp) and breast cancer resistance protein [3,19]. This            An important difference between the drugs is also the pro-
gives an overall renal clearance of 3–4 l/h, meaning that de-       portion of each that is excreted via the kidneys; renal elim-
creasing renal function leads to an increase in rivaroxaban         ination of apixaban (approximately 27%; the majority is
plasma concentrations and, correspondingly, PD effects              excreted via the hepatobiliary route) [5] is slightly lower
[32]. No data exist for patients with creatinine clearance          than that of rivaroxaban [3], but that of dabigatran is con-
(CrCl) min/min. As a result of high plasma protein binding          siderably higher (85%) [25]. Unlike rivaroxaban [3] and
(92–95% [3,18]), rivaroxaban is not expected to be                  apixaban [5], neither dabigatran nor its prodrug are
dialysable [3].                                                     metabolised by CYP-dependent mechanisms [6]; however,
   Taking rivaroxaban with food did not have a signifi-             owing to dabigatran etexilate being a P-gp substrate, the ef-
cant effect on PK parameters for a 10 mg dose com-                  fect of P-gp inhibitors on the bioavailability of dabigatran is
pared with fasting [3], but decreases in maximum                    stronger than on rivaroxaban elimination [6].
plasma concentration (Cmax) and overall exposure (area
under the concentration–time curve, AUC) were evident               Venous thromboembolism prevention in the orthopaedic
at a dose of 20 mg in the fasted state [33], as a result of         setting
decreased bioavailability and absorption rate with in-              All three approved novel OACs underwent initial clinical
creasing dose [22]. When a dose of 20 mg was adminis-               evaluation for the prevention of VTE after elective hip or
tered with food, complete bioavailability of rivaroxaban            knee replacement surgery. This population experiences high
was restored [34]. Absorption was not affected by                   levels of post-operative VTE in the absence of adequate
changes in gastric pH induced by ranitidine or antacid              thromboprophylaxis [41]. The rivaroxaban phase III clinical
[33]. Because rivaroxaban is metabolised via cytochrome             programme comprised four studies, RECORD1 [42], REC-
P450 (CYP) 3A4, CYP2J2 and CYP-independent mecha-                   ORD2 [43], RECORD3 [44] and RECORD4 [45], in more
nisms, and active renal secretion is mediated by P-gp               than 12,500 patients undergoing elective total hip replace-
and breast cancer resistance protein, co-administration             ment (THR) or total knee replacement (TKR). All four trials
with strong inhibitors of both CYP3A4 and P-gp, such                showed a significant efficacy benefit with rivaroxaban over
as the azole antimycotic ketoconazole or the HIV prote-             the comparator enoxaparin regimens without an increase in
ase inhibitor ritonavir, led to increased exposure and PD           major bleeding, and this was confirmed by pooled analyses
effects [3,35]. Strong inhibitors of one or the other, or           [46,47]. The preceding phase II clinical trials (ODIXa-HIP
moderate inhibitors of both of these pathways produced              [48], ODIXa-HIP2 [49], ODIXa-KNEE [50] and ODIXa-
less marked effects [3,35]. Concomitant administration              HIP-OD [51]) of rivaroxaban for VTE prevention in patients
of rivaroxaban and strong CYP3A4 and P-gp inducers,                 undergoing THR or TKR collected data that were used to
such as the antibiotic rifampicin, led to decreases in PK           construct population PK/PD models to characterise the PK
and PD effects, whereas interactions with substrates of             and PD properties of rivaroxaban in orthopaedic surgery
CYP3A4 and/or P-gp were considered not to be clinically             populations [11,52]. One model compared rivaroxaban od
relevant. Rivaroxaban does not inhibit or induce any major          and bid doses in patients undergoing THR and investigated
CYP isoforms, such as CYP3A4 [3]. Co-administration with            the influence of patient demographic characteristics on PK
enoxaparin produced an additive PD effect but did not               and PD parameters [11]. Only doses that had demonstrated
affect the PK of rivaroxaban [3,36]. Clopidogrel did not            a favourable profile compared with enoxaparin, i.e. total
affect rivaroxaban PK but did lead to a relevant increase in        daily doses of 5–20 mg, were considered. The other model
bleeding time in approximately one-third of healthy sub-            included both THR and TKR patients from the phase II
jects, although this was not correlated with changes in             programme [52]. In both models, PK data were fed into a
platelet aggregation [37]. Co-medication with naproxen or           non-linear mixed effects model (NONMEM), which al-
ASA did not lead to clinically relevant prolongation of             lows population estimates to be derived for PK and PK/
bleeding time overall [38], but some individuals exhibited          PD parameters and quantifies both the interindividual and
pronounced PD effects with rivaroxaban plus ASA [39].               interoccasion variability of these parameters, as well as re-
   Apixaban and dabigatran exhibit broadly similar PK pro-          sidual (unexplained) variability. Importantly, inputs to the
files to rivaroxaban, but with some notable exceptions              model could then be modified to simulate the effect of dif-
(Table 1). Unlike apixaban and rivaroxaban, dabigatran is           ferent dosing regimens and population demographic fac-
administered as a prodrug (dabigatran etexilate). The latter        tors (such as age, renal function and body weight) and the
is a substrate of P-gp and its low oral bioavailability is deter-   effect of co-medications [11,52].
mined by intestinal P-gp transporters [40]. Once absorbed,            In the first model described above, a total of 5743 sam-
the prodrug is rapidly converted to dabigatran by esterases         ples from 758 patients (362 patients from the bid study and
[40]. The volume of distribution of apixaban [5] is lower           396 patients from the od study) were included. Patient
than that of rivaroxaban [3] and dabigatran [6], which in           demographics were similar between the rivaroxaban od and
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bid study populations [11]. Observed rivaroxaban plasma          were available for use in the model [57]. Unlike for
concentrations (mean, 5/95 percentiles) are shown in             rivaroxaban, a two-compartment model most accurately
Table 2. An oral, one-compartment model with a first-            described the PK profile of dabigatran, which demonstrated
order rate constant was found to accurately describe the         dose-proportionality and linear kinetics. The rate of drug
PK of rivaroxaban. The results of the model confirmed that       absorption and apparent clearance during days 0 and 1 of
rivaroxaban exhibited a predictable, dose-proportional PK        treatment were significantly lower (p < 0.001) than on days
profile in THR patients, as it had in healthy volunteers, with   2–10, which may be explained by changes in gastrointes-
similar values for PK parameters (Table 3). The maximum          tinal motility caused by surgical effects or co-medication; a
plasma concentration (Cmax) for a 10 mg od dose was simi-        similar finding was reported in the rivaroxaban models for
lar to that in healthy volunteers (median 125 ng/ml vs           this patient population. Weight, gender, variations in most
141 ng/ml). Steady-state trough concentrations (Ctrough)         laboratory measurements, smoking and alcohol consump-
were a median of approximately 9 ng/ml; this value was in        tion did not affect the PK of dabigatran but, unsurprisingly
the order of magnitude required for in vitro inhibition of       for a drug with 80% renal clearance, decreasing CrCl sig-
Factor Xa activity, which supported the use of the               nificantly increased plasma exposure [57]. Despite this,
rivaroxaban 10 mg od dose [11]. PK parameters were af-           simulations indicated an apparent degree of overlap in con-
fected by body weight, study day, age, renal function, serum     centration–time profiles for renally impaired patients com-
albumin and haematocrit, but the average of these effects        pared with unimpaired controls, supporting the use of
remained within the overall variability of the population.       fixed dabigatran doses in patients undergoing THR regard-
The residual variability of the model was moderate               less of demographic factors [57].
(52.6%). PK/PD analysis of both the rivaroxaban od and              The phase III programme investigating apixaban for VTE
bid data indicated that prolongation of prothrombin time         prophylaxis after THR or TKR surgery consisted of three
(PT), measured using the STAW NeoplastineW CI Plus               studies, ADVANCE-1, ADVANCE-2 and ADVANCE-3
assay (Diagnostica Stago, Parsippany, NJ, USA), correlated       [58-60], which compared apixaban 2.5 mg bid with stand-
strongly with rivaroxaban plasma concentrations [11].            ard enoxaparin regimens. No population PK model for
   In order to provide insight into the expected influence of    apixaban in the orthopaedic setting has yet been published.
patient demographics, the model was then used to simulate
the PK of rivaroxaban 10 mg od in patients with extreme          Treatment of acute deep vein thrombosis and prevention
characteristics; this included age 90 years, moderate to se-     of recurrent venous thromboembolism
vere renal impairment (creatinine clearance [CrCl] 30 ml/        VTE is a major global healthcare problem that carries a
min), low body weight (40 kg) and combined age 90 years          substantial morbidity and mortality burden in the gen-
and low body weight. The predicted plasma concentra-             eral population [61,62]. The phase III EINSTEIN DVT
tion–time profiles of rivaroxaban for the typical individual     [63] and EINSTEIN PE [64] studies assessed a single-
in each of the four demographic groups fell within the pre-      drug approach using rivaroxaban against the standard
dicted 90% confidence intervals for the average population       dual-drug approach of enoxaparin overlapping with a
in these studies (Figure 2), confirming that rivaroxaban         VKA in patients with confirmed acute symptomatic
10 mg od could be given without the need for dose adjust-        DVT or PE. These studies found that rivaroxaban was as
ment in THR patients regardless of factors such as old age       effective as this standard regimen with similar or better
and moderate renal impairment [11]. In the second model,         safety outcomes. An extension study (EINSTEIN EXT)
the only major difference between PK properties for TKR          indicated that long-term rivaroxaban was also more ef-
and THR was that clearance was 26% lower in the knee             fective than placebo in preventing recurrent VTE [63].
study, which led to ~30% greater exposure. The models            Given that high rates of VTE recurrence in the acute
exhibited moderate residual variability (37% and 34% in          phase of treatment were seen in previous studies [65,66],
the hip and knee studies, respectively) [52].                    a higher dose of rivaroxaban (15 mg bid) was employed
   In its phase III clinical programme, dabigatran 150 mg        in the first 3 weeks of treatment. The basis for the
and/or 220 mg od were compared with enoxaparin regi-             chosen regimen (15 mg bid for 3 weeks followed by
mens for the prevention of total VTE in patients who had         20 mg od) stemmed from the outcomes from two phase
undergone TKR (RE-MODEL [53] and RE-MOBILIZE [54]                II studies (EINSTEIN and ODIXa-DVT) [67,68], which
trials) or THR (RE-NOVATE [55] and RENOVATE II [56]              demonstrated a greater reduction in thrombosis burden
studies). As with rivaroxaban, the doses used in these phase     with bid compared with od dosing in the acute phase of
III trials were determined by a series of phase II studies,      treatment. These studies also collected PK data to pro-
and one of these (BISTRO I) also provided PK data that           duce a population model to characterise the PK/PD of
could be used to construct a population PK model [57]. In        rivaroxaban od and bid doses in patients with acute
total, 289 patients received dabigatran at doses of 150 or       DVT, including evaluation of the influence of demo-
300 mg od or 12.5–300 mg bid, and 4604 blood samples             graphic factors.
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Table 2 Concentration–time profiles for rivaroxaban in different patient populations observed in clinical studies [Bayer HealthCare Pharmaceuticals and
Janssen Research & Development, LLC; data on file]
Indication and         VTE prevention:                DVT treatment:               Prevention of stroke in patients with AF Prevention of stroke in patients with AF                       Prevention of CV events in
rivaroxaban                                                                                 and CrCl ≥50 ml/min:                     and CrCl <50 ml/min:                                      patients with ACS:
dose
                           10 mg od               15 mg bid for 3 weeks                              20 mg od                                         15 mg od                                    2.5 mg bid
                                                  followed by 20 mg od
Time after           Concentration, μg/l            Concentration, μg/l                        Concentration, μg/l                               Concentration, μg/l                          Concentration, μg/l
dosing (hours)        (5/95 percentile)              (5/95 percentile)                          (5/95 percentile)                                 (5/95 percentile)                            (5/95 percentile)
1                       111 (75.1–177)                  235 (164–361)                              216 (152–316)                                    189 (134–281)                                41.3 (23.5–65.9)
2                       122 (90.6–195)                  270 (189–419)                              250 (177–361)                                    219 (157–317)                                44.1 (26.7–69.5)
3                       114 (82.3–186)                  259 (180–405)                              246 (172–361)                                    216 (153–317)                                42.0 (25.9–66.4)
4                       102 (75.8–164)                  237 (161–369)                              232 (157–349)                                    205 (141–309)                                38.7 (23.3–63.3)
5                       90.7 (62.2–143)                 213 (145–339)                              215 (140–333)                                    191 (127–297)                                35.2 (20.2–59.1)
6                       80.2 (51.8–125)                 191 (123–311)                              198 (123–318)                                    177 (111–286)                                31.7 (17.4–55.5)
9                       55.2 (30.5–96.0)               137 (71.3–240)                              155 (81.9–276)                                   141 (74.9–254)                               22.8 (10.4–45.2)
12                      37.8 (15.2–76.1)               97.8 (42.9–190)                             121 (53.4–242)                                   112 (50.0–225)                               16.2 (6.11–36.6)
18                      17.9 (4.85–49.9)               50.0 (16.0–124)                            73.5 (22.0–187)                                   70.4 (21.9–180)                                     −
24                      8.54 (1.36–37.2)               25.6 (5.93–86.9)                           44.7 (9.02–147)                                   44.4 (9.42–143)                                     −
Plasma concentrations given as geometric mean values with 90% prediction intervals (5/95 percentiles). Values given to 3 significant figures.
ACS acute coronary syndrome, AF atrial fibrillation, bid twice daily, CrCl creatinine clearance, CV cardiovascular, DVT deep vein thrombosis, od once daily, VTE venous thromboembolism.




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Table 3 Comparison of selected pharmacokinetic parameters (median values) with rivaroxaban in specific patient populations
Population and rivaroxaban dose                           Cmax, ng/ml          Ctrough,       AUC, ng · h/ml              Vd/F, l             Interindividual                CL/F, l/h              Interindividual
                                                                               ng/ml                                                       variability in Vd, %CV                              variability in CL/F, %CV
Hip surgery patients, 2.5–10 mg bid; 10 mg od               125* [11]           9* [11]          1170† [11]               58 [11]                   32 [11]                  5–8 [11]                    38 [11]
Patients treated for DVT; 10 mg bid, 20 and                  270 [12]          25‡ [12]          2870 [12]                54 [12]                   29 [12]                    6 [12]                    40 [12]
30 mg od or bid, or 40 mg od
Patients with AF; 15 and 20 mg od                        257‡ [Girgis.          32 [12]       3466† [Girgis.           80 [Girgis.         18 [Girgis. Unpublished          6 [Girgis.          35 [Girgis. Unpublished
                                                       Unpublished data]                    Unpublished data]       Unpublished data]                data]                 Unpublished                    data]
                                                                                                                                                                              data]
Patients with ACS; 2.5 mg bid                                44§ [86]          16§ [86]          361§ [86]                58 [86]                   10 [86]                   6.5 [86]                   31 [86]
*10 mg od.
†
 AUC over a 24-hour period at steady-state.
‡
 20 mg od at steady-state.
§
  2.5 mg bid at steady-state; AUC over a 12-hour period.
Values rounded to nearest integer.
AF atrial fibrillation, AUC area under the concentration–time curve, bid twice daily, Cmax maximum plasma concentration, Ctrough steady-state trough concentration, CL/F apparent clearance, CV coefficient of variance,
DVT deep vein thrombosis, NR not reported, od once daily, Vd/F volume of distribution at steady state.




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 Figure 2 Simulations of rivaroxaban plasma concentration–time profiles in typical patients compared with overall population
 estimates. Typical patients are elderly (90 years), have moderate to severe renal impairment; CrCl 30 ml/min), have low body weight (40 kg), or are
 elderly with low body weight. Patients receiving rivaroxaban 10 mg once daily (mean with 90% interval) [11]. CrCL/CrCl, creatinine clearance.
 Reproduced with permission from Mueck W, Borris LC, Dahl OE et al. Population pharmacokinetics and pharmacodynamics of once- and twice-daily
 rivaroxaban for the prevention of venous thromboembolism in patients undergoing total hip replacement. Thromb Haemost 2008;100:453–461.


   Data input into the model comprised 4634 rivaroxaban
plasma samples from 870 patients [12]. Observed
                                                                                                                                     Typical patient aged 60 years, weighing 80 kg, CLCR 90 mL/min
rivaroxaban plasma concentrations (mean, 5/95 percen-                                                                                5th and 95th percentiles
tiles) are shown in Table 2. As for healthy subjects and pa-                                                                         Patient aged 90 years, CLCR ~30 mL/min
                                                                                                                                     Patient with CLCR~35 mL/min
tients who had undergone major orthopaedic surgery,                                                                                  Patient aged 90 years, weighing ~45 kg
rivaroxaban PK was well described by a one-compartment                                                                               Patient aged 90 years
                                                                                                                                     Patient weighing ~45 kg
model. Median Cmax, Ctrough and AUC values at steady
                                                                                                                           500
state at the daily dose chosen for the phase III programme
                                                                                 Plasma rivaroxaban concentration (µg/L)




(20 mg od) were correspondingly higher than for a 10 mg
od dose (Table 3), and rivaroxaban exhibited the same pre-                                                                 400

viously documented dose-proportional PK profile. Age and
renal function moderately affected the PK profile, but vari-                                                               300
ations were within the overall variability seen in the studies
(Figure 3) [12]. Variations in gender and body weight had a                                                                200
minimal effect. Simulations of the approved rivaroxaban
dosing regimen for VTE treatment (15 mg bid for 3 weeks                                                                    100
followed by 20 mg od) demonstrated that no fluctuations
in Cmax would be expected during the transition from bid
                                                                                                                            0
to od dosing (Figure 4). Co-administration of laxatives, di-                                                                     0          4         8         12         16        20         24
uretics, non-steroidal anti-inflammatory drugs and ASA                                                                                           Time after administration (hours)
did not significantly alter the PK profile of rivaroxaban, al-                  Figure 3 Predicted plasma rivaroxaban concentration–time
though use of concomitant strong CYP3A4 inducers re-                            profiles for extremes in age, renal function and body weight.
duced rivaroxaban exposure by up to 50% [12]. As seen for                       Patients receiving rivaroxaban 20 mg once daily. The simulated
                                                                                patients had typical mean characteristics (age 60 years, body weight 80
patients undergoing orthopaedic surgery, an almost linear
                                                                                kg, CrCl 90 ml/min) unless specified otherwise [12]. CLCR/CrCl,
correlation between rivaroxaban exposure and PT pro-                            creatinine clearance. Reproduced from Mueck W, Lensing AW, Agnelli
longation was demonstrated [12].                                                G et al. Rivaroxaban: population pharmacokinetic analyses in patients
   Dabigatran has been evaluated for the treatment of                           treated for acute deep-vein thrombosis and exposure simulations in
acute VTE in the RE-COVER and RE-COVER II clinical                              patients with atrial fibrillation treated for stroke prevention. Clin
                                                                                Pharmacokinet 2011; 50:675–686 with permission from Adis (© Springer
trials [69,70]. In these studies, patients received either
                                                                                International Publishing AG 2011. All rights reserved).
parenteral anticoagulant followed by dabigatran 150 mg
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                                                                                                                             Median
                                                                                                                             5th and 95th percentiles
                                                                         600       15 mg bid for 3 weeks               Switch to 20 mg od




                               Plasma rivaroxaban concentration (µg/L)
                                                                         500


                                                                         400


                                                                         300


                                                                         200


                                                                         100


                                                                           0
                                                                               1       2          20          21        22            23          24
                                                                                                           Study day
 Figure 4 Simulated venous thromboembolism treatment dosing regimen of rivaroxaban. Regimen is 15 mg bid for 3 weeks followed by 20
 mg od (n=870) [12]. bid, twice daily; od, once daily. Reproduced from Mueck W, Lensing AW, Agnelli G et al. Rivaroxaban: population pharmacokinetic
 analyses in patients treated for acute deep-vein thrombosis and exposure simulations in patients with atrial fibrillation treated for stroke prevention.
 Clin Pharmacokinet 2011; 50:675–686 with permission from Adis (© Springer International Publishing AG 2011. All rights reserved).




bid or parenteral anticoagulant overlapping with a VKA                                                      rates of intracranial haemorrhage were significantly lower
until an international normalised ratio (INR) of 2–3 was                                                    with rivaroxaban, and the incidences of myocardial infarc-
achieved. The dual-drug regimen with dabigatran was                                                         tion, vascular death or all-cause mortality were numerically
shown to be as effective as standard therapy, with a                                                        lower [76]. Observed rivaroxaban plasma concentrations
similar safety profile. Two further studies have shown                                                      (mean, 5/95 percentiles) are shown in Table 2. A population
dabigatran 150 mg bid to be effective for the long-term                                                     PK model for rivaroxaban in patients with AF was
treatment of VTE, although the results of one study                                                         constructed based on data from the DVT treatment stud-
showed that dabigatran significantly increased the inci-                                                    ies, taking into account the fact that AF populations are
dence of ACS compared with warfarin [71,72].                                                                typically older than those undergoing orthopaedic surgery
  Apixaban is being evaluated for VTE treatment in two                                                      or requiring treatment for VTE [12]. A virtual population
phase III clinical trials. The AMPLIFY study will com-                                                      of 1000 elderly patients with AF was simulated; results indi-
pare apixaban 10 mg bid for 7 days followed by 5 mg                                                         cated that the average Cmax and AUC of rivaroxaban in pa-
bid with standard therapy for the treatment of acute                                                        tients with AF could be expected to be slightly higher (7.4%
VTE (www.clinicaltrials.gov; NCT00643201). AMPLIFY-                                                         for Cmax; 15.3% for AUC) than values for patients with
EXT evaluated apixaban 2.5 mg bid or 5 mg bid versus                                                        DVT [12]. Renal impairment was expected to lead to in-
placebo for 12 months after initial treatment of VTE.                                                       creased exposure [12]. These predictions were subsequently
The recently published results demonstrated a signifi-                                                      confirmed in a population PK analysis of the ROCKET AF
cant reduction in recurrent VTE with apixaban without                                                       dataset, which included data from 161 individuals. Appar-
an increase in major bleeding [73].                                                                         ent clearance and volume of distribution at steady state
                                                                                                            were estimated to be approximately 6 l/h and 80 litres,
Stroke prevention in patients with non-valvular atrial                                                      respectively, with moderate interindividual variability
fibrillation                                                                                                (Table 3). PK parameters for patients with moderate
Partially as a result of an ageing population, AF is now the                                                renal impairment given rivaroxaban 15 mg od were gen-
most commonly occurring heart arrhythmia [74,75] and is                                                     erally similar to those estimated for patients with either
a major risk factor for stroke [74]. The phase III ROCKET                                                   no or mild renal impairment who received rivaroxaban
AF study showed that rivaroxaban (20 mg od) was non-                                                        20 mg od. Ratios of the means of Cmax and AUC for
inferior to dose-adjusted VKA therapy in patients with AF                                                   time 0 to 24 hours (AUC0–24) were 0.88 and 0.91, re-
for the prevention of stroke and systemic embolism, with                                                    spectively, for patients with moderate renal impairment
similar rates of bleeding [76]. In the secondary efficacy ana-                                              compared with those with mild impairment or normal
lysis in the as-treated safety population, rivaroxaban dem-                                                 renal function, and the distributions overlapped consid-
onstrated superiority compared with warfarin. Importantly,                                                  erably, supporting the use of a reduced rivaroxaban
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15 mg od dose for patients with moderate renal impair-          Secondary prevention of major cardiovascular events in
ment [I Girgis. Unpublished data]. In addition, model-          patients with acute coronary syndrome
ling work supported the use of a lower rivaroxaban dose         In the recent phase III ATLAS ACS 2 TIMI 51 trial,
in Japanese patients with AF [77,78], and in a phase III        rivaroxaban 2.5 mg bid or 5 mg bid was shown to sig-
randomised study (J-ROCKET AF) a 15 mg od dose was              nificantly reduce the incidence of death, myocardial in-
found to be non-inferior to warfarin (hazard ratio 1.11;        farction or stroke compared with placebo when added to
95% confidence interval 0.87–1.42) for the prevention           standard dual anti-platelet therapy (ASA plus either
of stroke and systemic embolism [79].                           clopidogrel or ticlopidine) in patients with ACS [84].
   Dabigatran was evaluated for the prevention of stroke        Using data from the preceding phase II study, ATLAS ACS
in patients with AF in the phase III RE-LY study. In            TIMI 46 [85], a population PK model was constructed to
RE-LY, dabigatran 150 mg bid significantly reduced the          characterise the parameters of rivaroxaban in this popula-
risk of stroke or systemic embolism compared with war-          tion and model the effects of demographic variations on
farin, with a similar rate of major bleeding, whereas the       rivaroxaban PK [86]. Data from 2290 patients were used
110 mg bid dabigatran dose had similar efficacy to war-         and the observed rivaroxaban plasma concentrations
farin and with significantly lower rates of major bleeding      (mean, 5/95 percentiles) are shown in Table 2. As for the
[80,81]. Data from phase I and II studies of dabigatran         models in other patient populations, rivaroxaban PK was
in healthy subjects (n = 128) and patients undergoing           described by an oral one-compartment model. Apparent
orthopaedic surgery or with AF (n = 2252) were used to          clearance and volume of distribution were approximately
construct a population PK model for dabigatran, which           6.5 l/h and 58 litres, respectively, with low-to-moderate
was then validated by comparison with PK data collected         interindividual variability. Variations in renal function, age
in RELY [82]. Given the high renal clearance of                 and body weight on exposure were consistent with previ-
dabigatran, CrCl was built into the baseline assumptions        ous findings and PK parameters were similar to those esti-
for the model, and PD data were evaluated with the use          mated for other patient populations (Table 3) [86].
of activated partial thromboplastin time (aPTT) assays.            The phase III APPRAISE-2 trial of apixaban demon-
For the development of a PK model for dabigatran, a             strated that in high-risk patients after ACS the addition
dataset was collated from 80 healthy volunteers (44% of         of apixaban 5 mg bid to antiplatelet therapy increased
whom had some level of renal impairment) and 1965 pa-           rates of major bleeding without significantly reducing
tients [82]. For both patients and healthy controls, the PK     the rates of recurrent ischaemic events [87]. Dabigatran
of dabigatran was best described by a two-compartment           is not being investigated in phase III studies of patients
model and there was a linear correlation between clear-         with ACS.
ance and renal function. Age, gender and therapeutic indi-
cation (AF or orthopaedic surgery) influenced clearance,        Laboratory monitoring of novel oral
and body weight influenced volume of distribution [82].         anticoagulants
The values predicted by the model agreed well with those        Because novel OACs competitively and directly inhibit
observed in RE-LY, and there was a linear correlation be-       specific factors of the coagulation cascade, their concen-
tween dabigatran exposure and aPTT prolongation. Using          tration–time profiles directly determine the time course of
the data to simulate plasma concentration–time profiles         inhibition (taking into consideration fluctuations with ab-
at steady state for a typical male patient with AF (age         sorption and elimination processes associated with oral
68 years, weight 80 kg, CrCl 87 ml/min) controlling for a       dosing). This is in contrast to warfarin, which works indir-
variety of covariates, the effect remained within the overall   ectly by inhibiting components necessary for the synthesis
variability for the average patient with AF, with the excep-    of blood coagulation factors; therefore, inhibition by war-
tion of renal impairment, which led to increases in expos-      farin is determined by the half-life of synthesis. The pre-
ure of 40% for a CrCl of 50 ml/min and 90% with a CrCl          dictable PK and PD profiles of rivaroxaban and other
of 30 ml/min. There was less peak-to-trough fluctuation         novel OACs mean that routine coagulation monitoring is
with dabigatran dosing at 150 mg bid than for 300 mg od         not normally required [88]. However, in cases where an
[82]. Further simulations of patients with moderate and         emergency intervention requires immediate assessment of
severe renal impairment indicated that, compared with           anticoagulation, such as prior to urgent surgery, it may be
patients with moderate renal impairment (CrCl >30–              useful or essential to be able to measure the anticoagulant
49 ml/min) given dabigatran 150 mg bid, those with se-          effect of a novel OAC. Available tests can be divided into
vere impairment (CrCl 15–30 ml/min) had a 35% higher            assays that measure general clot formation and those that
average Cmax with dabigatran 150 mg od and a 42% lower          directly quantify inhibition of a specific clotting factor.
average Ctrough with a dabigatran 75 mg od dose.                Owing to their modes of action, novel OACs affect some
Dabigatran 75 mg bid resulted in a reasonable matching          of these assays in different ways and an understanding of
of exposures [83].                                              this is key to correctly interpreting results.
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Clot-based assays                                                   The aPTT test is performed in the absence of a tissue
The most commonly available clot-based assays include            factor and, therefore, measures the overall function of the
the PT, dilute PT, aPTT, ecarin clotting time (ECT),             intrinsic coagulation pathway. Traditionally performed to
HepTest and prothrombinase-induced clotting time                 monitor coagulation with unfractionated heparin, aPTT is
(PiCT) [89]. Each of these tests measures the time taken         performed by adding a contact activator (e.g. celite, ellagic
for a plasma sample to form a clot after the addition of         acid, kaolin or silica) and cephalins to citrated plasma
calcium and an activator in the presence of the anti-            [89]. Calcium is added after a preincubation period and
coagulant to be monitored. This means that they are not          the clotting time is then measured. When using aPTT to
specific to any particular anticoagulant. The effects of         assess rivaroxaban and apixaban, the test was less sensitive
rivaroxaban, dabigatran and apixaban on these tests are          than PT, and results with dabigatran were non-linear at
summarised in Table 4.                                           higher doses [89,90]. A recent study that tested a range of
   PT measures the time for plasma to clot after the             clotting assays with dabigatran suggested that aPTT could
addition of calcium and thromboplastin. The results are          be used as a screening test for the risk of overdose but not
always given in seconds. Rivaroxaban prolongs PT in a            for quantitative measurement of dabigatran [94].
dose-dependent manner but the extent of prolongation                HepTest is a clot-based anti-Factor Xa assay, in which a
depends on the thromboplastin reagent used [90,91]. A            plasma sample is preincubated with bovine Factor Xa be-
multicentre study that evaluated the interlaboratory vari-       fore addition of calcium chloride and thromboplastin.
ability of PT measurements with rivaroxaban found that           Rivaroxaban prolongs HepTest clotting time, although a
the use of local reagents led to greater variability than        shortened incubation time must be used with low concen-
when all laboratories used a standardised Neoplastine CI         trations to ensure a linear dose–response [91]. In contrast,
Plus test (Diagnostica Stago, Asnières-sur-Seine, France),       ECT measures thrombin clotting using a derivative of
which had a higher sensitivity for rivaroxaban than many         snake venom to generate a prothrombin intermediate, and
other PT assays [92]. Another group has also recently            is thus likely to be more appropriate for monitoring
reported reproducible results with a calcium chloride-           dabigatran activity. Indeed, dabigatran prolongs ECT in a
modified PT assay [93]. The variation in the sensitivity         dose-dependent manner and can be calibrated to
of different thromboplastin reagents is overcome for             dabigatran concentrations [95]. The thrombin generation
VKA monitoring by conversion to the INR, but this is             test is capable of assessing each phase of thrombin gener-
specific to VKAs and cannot be used with rivaroxaban             ation but may lack sensitivity [89], whereas another assay,
or the other novel OACs [91].                                    Hemoclot, has been reported to have high sensitivity, good
   Even with standardisation, there are a number of other        reproducibility and a linear dose correlation with
limitations of PT when applied to novel OACs [89,90].            dabigatran [90,94]. The PiCT test, which uses Factor Xa,
The presence of concomitant systemic conditions, such as         phospholipids and a Factor V activator, is affected by both
hepatic impairment, sepsis or vitamin K deficiency, can          Factor Xa and thrombin inhibitors. Rivaroxaban and
lead to a prolongation of PT. The PT is dependent on fac-        dabigatran prolong PiCT, although incubation should be
tors of the extrinsic coagulation pathway other than Factor      avoided with rivaroxaban and human, rather than bovine,
Xa and it is not specific to any agent. Furthermore, the         Factor Xa must be used [89]. However, as with many of the
short half-life of, for example, rivaroxaban (5–13 hours)        other tests described, a lack of sensitivity at low concentra-
led to transient PT results, whereas for warfarin (half-life     tions and variation between tests limit their usefulness for
36–42 hours) less variability can be expected. In addition,      assessing novel OACs [89].
disappearance from the plasma of a Factor Xa inhibiting
agent does not always correlate with a return to normal          Chromogenic assays
Factor Xa levels. Finally, PT reagents are insensitive at low    Chromogenic assays measure the change in absorbance
concentrations of rivaroxaban [89,90] and are not able to        when a chromophore-tagged substrate of a specific clot-
accurately measure the Ctrough levels predicted for              ting factor is cleaved by the coagulation factor to be mea-
rivaroxaban in PK models: Ctrough levels were in the range       sured, a process that is inhibited by the presence of the
9–32 ng/ml (Table 3) but Neoplastine Plus can only meas-         anticoagulant [89]. Such assays are more specific than
ure plasma levels down to approximately 50 ng/ml, mean-          clot-based assays and have proved suitable for quantitative
ing that a PT reading taken around the time of Ctrough will      measurement of rivaroxaban exposure with dose-
likely provide a false negative result [89]. These limitations   dependent results covering both the expected Cmax and
also apply to dilute PT assays. Nevertheless, if used in an      Ctrough levels after therapeutic doses. Nevertheless, appro-
emergency and in the absence of any other available test,        priate calibration over a wide range of plasma concentra-
Neoplastine Plus (with results expressed in seconds) is the      tions is required to create a standard reference dose–
recommended agent for assessing the anticoagulant effect         response curve [89,90]. A recent ex vivo study evaluated
of rivaroxaban [3].                                              the accuracy of three anti-Factor Xa chromogenic assays
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                                                                                                                                                                                                                    Mueck et al. Thrombosis Journal 2013, 11:10
Table 4 Comparison and suitability of laboratory assays for monitoring novel oral anticoagulants [89,90]
Agent                     PT                 Dilute            aPTT                 ECT                HepTest                    PiCT             Chromogenic               Preferred assay     Assays that may
                                              PT                                                                                                      assays                                      be used in the
                                                                                                                                                                                                   absence of
                                                                                                                                                                                                 preferred assay
Rivaroxaban        Dose-dependent           Results     Not as sensitive as         NA             Dose-dependent             Sensitive if        Dose-dependent                 Factor Xa        PT (Neoplastin)
                  prolongation but          vary as             PT                               response with short          incubation           response with            chromogenic assay
                   results vary with        for PT                                                 incubation time           avoided and          human Factor Xa            (with appropriate
               thromboplastin reagent                                                                                      human Factor Xa           and buffer                 calibration)
                                                                                                                                 used
Apixaban       Prolongs PT but results        More      Other tests may be          NA             Dose-dependent                  NR             Dose-dependent       RotachromW Factor Xa        Modified PT
                   may vary with            sensitive     more sensitive                         response and more                                   response           chromogenic assay
               thromboplastin reagent       than PT                                            sensitive than PT, dilute                                                 (with appropriate
                                                                                                     PT and aPTT                                                            calibration)
Dabigatran         Prolongs PT but             NR       More sensitive than Prolongs ECT        Prolongs HepTest but       Prolongs PiCT but      In development        Hemoclot suggested          ECT, aPTT
                insensitive and results                 PT but results vary  in a dose-          may be unsuitable           insensitive at
                    may vary with                         with different     dependent                                        lower doses
               thromboplastin reagent                       reagents           manner
aPTT activated partial thromboplastin time, ECT ecarin clotting time, NA not applicable, NR not reported, PiCT prothrombinase-induced clotting time, PT prothrombin time.




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for measuring rivaroxaban concentrations using plasma            population PK modelling is an invaluable tool for achiev-
samples from healthy subjects and patients [96]. Assays          ing full PK and PD characterisation. There is now a sub-
that did and did not include exogenous antithrombin, with        stantial body of patient modelling data published for
two different concentration calibration sets for each, were      rivaroxaban and dabigatran, although this is currently
investigated. All assays showed a linear relationship be-        lacking for apixaban. One advantage of PK modelling is
tween actual rivaroxaban concentrations and the optical          that it can be used to simulate ‘extreme’ scenarios, such
density of the chromogenic assays. However, although the         as those that present in patients who are elderly, have
non-antithrombin assays were able to provide accurate re-        renal or hepatic impairment, or who are obese. The
sults over a wide range of rivaroxaban concentrations, the       models described herein show that, for the most part,
assay that contained exogenous antithrombin provided             the PK and PD profiles of rivaroxaban and dabigatran
falsely elevated results, suggesting that it is unsuitable for   remain within acceptable boundaries for most individual
use with rivaroxaban [96].                                       patients, supporting the use of fixed dosing regimens
   A recent field trial investigated the inter-laboratory        [11,12,52,57,82]. Overall, both agents exhibit only mod-
viability of the measurement of rivaroxaban plasma con-          erate PK/PD variability, which contrasts with the unpre-
centrations with anti-Factor Xa chromogenic assays. The          dictable interindividual variations seen with warfarin
study was conducted in 24 laboratories in Europe and             that necessitate routine coagulation monitoring.
North America using standardised rivaroxaban calibra-               The other novel OACs also exhibit similarly predict-
tors and plasma control samples [97]. Each centre used           able profiles, but some comparative PK properties differ
both the centrally provided modified STAW RotachromW             in ways that may be important to consider in a given
assay (Diagnostica Stago) and local Factor Xa reagents           clinical situation. For example, the high renal clearance
to perform tests on a variety of sample concentrations.          of dabigatran (80%) means that it is not considered suit-
Using the centrally provided assay, a lower inter-               able in the EU for patients with severe renal insuffi-
laboratory variation was found compared with when                ciency (CrCl 15– < 30 ml/min) [6], although it can be
local reagents were employed, with the greatest differ-          used for the prevention of stroke in severely renally im-
ence found at lower concentrations of rivaroxaban. This          paired patients with AF in the US (at a reduced 75 mg
study suggests that, using standard calibrators and con-         od dose) [8]. Rivaroxaban and apixaban, which are elimi-
trols, a range of rivaroxaban plasma concentrations (20–         nated in greater proportions via other non-renal routes,
660 ng/ml), which covers the expected rivaroxaban                may be used with caution in the relevant licensed indica-
plasma levels after therapeutic doses, could be measured         tion in such patients [3,5]. Equally, the drug interaction
using the chromogenic anti-Factor Xa assay STA                   profile of each agent may be an important consideration if
Rotachrom [97]. This assay could provide a more sensi-           a patient is taking concomitant medications. Rivaroxaban
tive and specific alternative to the previously described        should not be used in conjunction with strong inhibitors of
PT method for the measurement of rivaroxaban plasma              both CYP3A4 and Pgp, such as azole-antimycotics (e.g. ke-
concentrations. The STA Rotachrom assay and two                  toconazole, itraconazole, voriconazole and posaconazole) or
other chromogenic assays, Biophen DiXaIW (Hyphen                 HIV protease inhibitors (e.g. ritonavir) because competi-
Biomed) and TechnochromW anti-Xa (Technoclone),                  tive elimination with rivaroxaban will increase exposure to
have received European authorisation for commercial              the latter to a clinically relevant degree [3,35]. However,
distribution. STA Rotachrom has been identified as the           comedication with strong inhibitors of one of these path-
preferred assay for measuring the activity of apixaban           ways only, or moderate inhibitors of both, may be consid-
[5]. Chromogenic assays to measure dabigatran are cur-           ered with caution. In contrast, dabigatran is not metabolised
rently in development.                                           via CYP3A4 pathways but should not be co-administered
                                                                 with potent P-gp inhibitors (e.g. amiodarone) [6], and
Discussion                                                       apixaban should not be given in conjunction with strong
Of the three currently licensed novel OACs, the PK and           CYP3A4 inhibitors but is not affected by competition for
PD profile of rivaroxaban is arguably the most fully elu-        P-gp transport [5].
cidated. Observations in phase I and phase II studies               An important observation derived from population PK
have shown that rivaroxaban has predictable, dose-               modelling is the effect of renal clearance and age on the
proportional PK with an anticoagulant effect that also           PK/PD profiles of rivaroxaban and dabigatran. These
increases in a linear fashion with increasing plasma con-        two parameters are often linked because renal efficiency
centration; importantly, this profile is largely consistent      decreases with advancing age. Results of PK modelling
in the presence or absence of demographic variations             with dabigatran led to recommendations for a reduced
[22]. Although characterisation of PK in healthy subjects        dose of 150 mg od to be used for VTE prevention in pa-
is important, it is vital to understand how a drug is likely     tients with moderate renal impairment (CrCl 30–49 ml/
to behave in actual patient populations. The use of              min) [6,83]. Rivaroxaban modelling confirmed that no
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dose reduction is needed for patients with CrCl 15–               Conclusions
49 ml/min (moderate or severe renal impairment) re-               Rivaroxaban and dabigatran (and apixaban based on such
ceiving the 10 mg dose approved for VTE prevention                data as have been published) have predictable PK and PD
after elective hip and knee replacement surgery. For the          properties allowing for fixed oral dosing regimens to be
treatment of DVT in patients with CrCl 15–49 ml/min,              followed regardless of demographic variations without the
rivaroxaban PK modelling supported the recommended                need for routine coagulation monitoring in most cases. The
15 mg bid dose for the acute phase (first 21 days) of             relatively short half-life of these drugs and the direct correl-
therapy and a reduced dose of rivaroxaban 15 mg od for            ation between concentration–time profile and inhibition
the extended treatment phase (post-day 21). For the pre-          are advantages for fast offset of action when treatment is
vention of stroke and systemic embolism in patients               stopped. In circumstances where the measurement of
with non-valvular AF and CrCl <50 ml/min, the reduced             plasma concentration is required, the use of standardised
dose of rivaroxaban 15 mg od was supported by phase               calibrators and controls is essential to obtaining accurate
III trial data (CrCl 30–49 ml/min; moderate renal im-             data – this appears possible with anti-Factor Xa chromo-
pairment) and modelling (CrCl 15– < 30 ml/min; severe             genic assays for rivaroxaban and apixaban, and HemoClot,
renal impairment) [3,76]. Given that data are limited,            ECT or aPTT for dabigatran. However, it is important that
rivaroxaban should be used with caution in patients with          the results of any of these assays are interpreted within the
CrCl 15– < 30 ml/min in all settings [3].                         context of the time of drug administration.
  Although not routinely required, laboratory testing of
anticoagulant activity may sometimes be necessary when            Abbreviations
                                                                  ACS: Acute coronary syndrome; AF: Atrial fibrillation; aPTT: Activated partial
employing novel OACs. Because of the PK/PD properties             thromboplastin time; ASA: Acetylsalicylic acid; AUC: Area under the
of these agents, few clot-based assays are appropriate for        concentration–time curve; bid: Twice daily; CrCl: Creatinine clearance;
this task, and in general there is a lack of standardised cali-   CYP: Cytochrome P450; DVT: Deep vein thrombosis; ECT: Ecarin clotting time;
                                                                  INR: International normalised ratio; OAC: Oral anticoagulant; od: Once daily;
bration and methodology for conducting these tests with           P-gp: P-glycoprotein; PD: Pharmacodynamic; PiCT: Prothrombinase-induced
the novel OACs [90,95]. This contrasts to the case with           clotting time; PK: Pharmacokinetic; PE: Pulmonary embolism; PT: Prothrombin
warfarin, for which cumulative years of experience have           time; THR: Total hip replacement; TKR: Total knee replacement; VKA: Vitamin
                                                                  K antagonist; VTE: Venous thromboembolism.
led to a standardised calibration of PT test results using
the INR. At clinically relevant plasma concentrations of          Competing interests
rivaroxaban, the effect on PT prolongation is small and           The authors are employees of Bayer HealthCare Pharmaceuticals, the
                                                                  manufacturers of rivaroxaban.
short-lived, and the test has a low sensitivity for all novel
OACs [90,95]. However, the advantage of PT is that it is a        Authors’ contributions
standard test that is available and can be performed rap-         All authors contributed to the drafting and review of the manuscript, and
idly in most clinical laboratories worldwide [92]. Chromo-        read and approved the final manuscript.
genic assays that respond to specific coagulation factors
                                                                  Acknowledgements
are now available and can provide specific, sensitive and         The authors would like to acknowledge Stephen Purver, who provided
accurate quantitative measurement of rivaroxaban expos-           medical writing services with funding from Bayer HealthCare
ure within the expected range of plasma concentration             Pharmaceuticals and Janssen Scientific Affairs, LLC.
seen with therapeutic doses [90,95].                              Received: 1 March 2013 Accepted: 9 June 2013
  For this reason, approved chromogenic assays should             Published: 28 June 2013
be regarded as the gold standard for measuring
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